             Case:19-19325-KHT
     Fill in this information to identify your Doc#:1
                                               case:          Filed:10/29/19          Entered:10/29/19 16:11:57 Page1 of 63
     United States Bankruptcy Court for the:

     ____________________
     District of Colorado      District of _________________
                                         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                 Chapter 7
                                                              
                                                              ✔
                                                              
                                                                  Chapter 11
                                                                  Chapter 12
                                                                                                                                          Check if this is an
                                                                 Chapter 13                                                                 amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                             04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         The  Dough Bar, LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           d/b/a The Doughnut Club
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                         of business
                                               501 Riverside Ave                                         _______________________________________________
                                            ______________________________________________
                                            Number     Street                                            Number     Street

                                            ______________________________________________               _______________________________________________
                                                                                                         P.O. Box

                                               Fort Collins                    CO   80524
                                            ______________________________________________               _______________________________________________
                                            City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               Larimer County
                                            ______________________________________________
                                            County                                                       _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




5.    Debtor’s website (URL)                 https://www.doughbardoughnuts.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                Entered:10/29/19 16:11:57 Page2 of 63

                The Dough Bar, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            311812
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       ✔   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                         
                                                         ✔      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                             is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
          Case:19-19325-KHT Doc#:1 Filed:10/29/19                                     Entered:10/29/19 16:11:57 Page3 of 63

              The Dough Bar, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million
                                             ✔
                                                                               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
          Case:19-19325-KHT Doc#:1 Filed:10/29/19                                        Entered:10/29/19 16:11:57 Page4 of 63

               The Dough Bar, LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million
                                            ✔
                                                                                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              10/29/2019
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Marquez Fernandez
                                                _____________________________________________               Marquez Fernandez
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       CEO & Co-founder
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Owen Hathaway
                                                _____________________________________________              Date         10/29/2019
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Owen Hathaway
                                                _________________________________________________________________________________________________
                                                Printed name
                                                The Law Offices of Owen Hathaway, LLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                2601 S. Lemay Ave 7-232
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Fort Collins
                                                ____________________________________________________            CO             80525
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                970-818-3052
                                                ____________________________________                              owen@ohlawcolorado.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                44068                                                           CO
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
             Case:19-19325-KHT Doc#:1 Filed:10/29/19                                                                           Entered:10/29/19 16:11:57 Page5 of 63


 Fill in this information to identify the case:

                The Dough Bar, LLC
  Debtor name _________________________________________________________________

                                          District of Colorado
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                          240,000.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         359,216.27
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           599,216.27
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          172,337.17
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                           13,793.81
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          587,984.50



4. Total liabilities ...........................................................................................................................................................................          774,115.48
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
             Case:19-19325-KHT Doc#:1 Filed:10/29/19                               Entered:10/29/19 16:11:57 Page6 of 63

      Fill in this information to identify the case:

                    The Dough Bar, LLC
      Debtor name __________________________________________________________________

                                              District of Colorado
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                         Check if this is an
      Case number (If known):    _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated,   total claim amount and deduction for value of
                                                                           services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     CAN Capital                             Nena Archibong              Monies Loaned /
1    2015 Vaughn Rd                          1-888-358-9712 Ext 3534     Advanced
     Suite 500
                                                                                                                                                      96,520.60
     Kennesaw, GA, 30144


     Central Valley Community Bank           Vicki Cass                  Monies Loaned /
2    7100 N. Financial Drive                                             Advanced
     Suite 100
                                                                                                                                                      94,605.66
     Fresno, CA, 93720

     Kabbage                                 888-986-8263                Monies Loaned /
3    925B Peachtree Street NE                                            Advanced
     Suite 1688
                                                                                                                                                      72,310.32
     Atlanta, GA, 30309


     Gary Goranson                                                       Monies Loaned /
4    1970 B Street                                                       Advanced
     Apt A                                                                                                                                            65,000.00
     Lincoln, NE, 68502


     Wells Fargo LOC                                                     Monies Loaned /
5    P.O. Box 10438                                                      Advanced
     Des Moines, IA, 50306                                                                                                                            52,876.00


     Loanbuilder                                                         Monies Loaned /
6    Swift Financial, LLC                                                Advanced
     3505 Silverside Rd.                                                                                                                              47,913.40
     Wilmington, DE, 19810


     US Bank National Association                                        Credit Card Debt
7    Bankruptcy Department
     P.O. Box 108                                                                                                                                     23,934.57
     Saint Louis, MO, 63166

     US Bank                                 844-223-5843                Monies Loaned /
8    Attention Bankruptcy Dept                                           Advanced
     4801 Frederica St                                                                                                                                18,607.00
     Owensboro, KY, 42301




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
             Case:19-19325-KHT Doc#:1 Filed:10/29/19                                    Entered:10/29/19 16:11:57 Page7 of 63

                     The Dough Bar, LLC
    Debtor          _______________________________________________________                          Case number (if known)_____________________________________
                    Name




     Name of creditor and complete            Name, telephone number,          Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of             (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact                 debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional           unliquidated,   total claim amount and deduction for value of
                                                                               services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff
     Honeyville Inc.                         888-810-3212                    Suppliers or Vendors     Disputed
9    11600 Dayton Drive Rancho                                                                        Unliquidated
     Rancho Cucamonga, CA, 91730                                                                      Contingent                                            11,352.00


     Wells Fargo                             800-847-8899                    Credit Card Debt
10 P.O. Box 10438
     Des Moines, IA, 50306                                                                                                                                  5,759.92



     Amtrust North America                   877-528-7878                    Monies Loaned /
11 Attention Bankruptcy Dept                 bankruptcy@amtrustgroup.com     Advanced
     800 Superior Avenue                                                                                                                                    4,791.52
     Cleveland, OH, 44114

     Posh Bakery                                                             Suppliers or Vendors
12 445 Nelo St
     Santa Clara, CA, 95054                                                                                                                                 4,500.00



     K1 Packaging                                                            Suppliers or Vendors
13 17989 E. Arenth Ave
     Rowland Heights, CA, 91748                                                                                                                             4,259.93


     Foresight Food Research                                                 Services                 Contingent
14 7644 Jenni St. NE
     Olympia, WA, 98506                                                                                                                                     3,511.00


     Lawrence Foods, Inc.                                                    Suppliers or Vendors
15 2200 Lunt Avenue
     Elk Grove Village, IL, 60007
                                                                                                                                                            3,331.20


     World Wide Express                                                      Suppliers or Vendors
16 1939 Harrison St
     Suite 170                                                                                                                                              2,891.70
     Oakland, CA, 94612

     Betterbuds Inc.                         Nancy Robash                    Suppliers or Vendors
17 2330 Chicory Road                         800-350-9288
     Racine, WI, 53403
                                                                                                                                                            2,133.03


     Glanbia Business Services               Ann Dujua                       Suppliers or Vendors
18 4255 Meridian Parkway                     2 331-642-6066
     Suite 151                               adujua@glanbia.com                                                                                             1,563.28
     Aurora, IL, 60504

     Bell                                    Janice Korman                   Suppliers or Vendors
19 500 Academy Drive                         847-412-4696
     Northbrook, IL, 60062                   accountsreceivable@bellff.com
                                                                                                                                                            1,388.43


     Gramercy Bakery, LLC.                                                   Suppliers or Vendors
20 20405 B Gramercy Place
     Torrance, CA, 90501                                                                                                                                    1,000.00




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 2
             Case:19-19325-KHT Doc#:1 Filed:10/29/19                               Entered:10/29/19 16:11:57 Page8 of 63
  Fill in this information to identify the case:

               The Dough Bar, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of Colorado
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   500.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Wells Fargo
    3.1. _________________________________________________  Savings
                                                           ______________________              5
                                                                                               ____    8
                                                                                                      ____    9
                                                                                                             ____   1
                                                                                                                    ____         $______________________
                                                                                                                                   0.00
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 39,350.17
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 39,850.17
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Rental Deposit
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    50,000.00
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                   Entered:10/29/19 16:11:57 Page9 of 63
Debtor           The Dough Bar, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment
         Shopify
    8.1.___________________________________________________________________________________________________________                $______________________
                                                                                                                                     Unknown

    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
                                                                                                                                     50,000.00
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                     Entered:10/29/19 16:11:57 Page10 of 63
                   The Dough Bar, LLC
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
                                                               09/25/2019          3,400.00                 replacement cost            3,400.00
  Ingredients
   ________________________________________                   ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                     3,400.00
                                                                                                                                      $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
     
     ✔      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                     Entered:10/29/19 16:11:57 Page11 of 63
                 The Dough Bar, LLC
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name




33. Total of Part 6.
                                                                                                                                    $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :    Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                           Net book value of     Valuation method             Current value of debtor’s
                                                                                  debtor's interest     used for current value       interest
                                                                                  (Where available)
39. Office furniture

                                                                                   $________________     ____________________      $______________________
40. Office fixtures

                                                                                   $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
Office Equipment - see Attachment to Schedule A/B                                    10,100.00            fair market                10,100.00
                                                                                   $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________                $________________      ____________________      $______________________
    42.2___________________________________________________________                $________________      ____________________      $______________________
    42.3___________________________________________________________                $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                      10,100.00
                                                                                                                                    $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                                  page 4
          Case:19-19325-KHT Doc#:1 Filed:10/29/19                                Entered:10/29/19 16:11:57 Page12 of 63
                  The Dough Bar, LLC
 Debtor          _______________________________________________________                   Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2017 Dodge Grand Caravan SXT, 45,000 miles                         15,500.00              NADA                        13,975.00
    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             105,700.00                                         105,700.00
    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            119,675.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
            Case:19-19325-KHT
               The Dough Bar, LLC
                                  Doc#:1 Filed:10/29/19                                  Entered:10/29/19 16:11:57 Page13 of 63
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Credit toward purchase of 50% interest in 501           credit toward
55.1
       Riverside Ave, Fort Collins, CO 80524                   purchase
                                                                                      260,420.97           stated value                  240,000.00
                                                                                     $_______________      ____________________        $_____________________
       Option to buy unit in 501 Riverside Ave, Fort          Call option
55.2
       Collins, CO 80524
                                                                                      0.00                                               Unknown
                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     240,000.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets                                                                                    Unknown
    Proprietary doughnut mix formula, recipes
    ______________________________________________________________                   $_________________     ______________________      $____________________

61. Internet domain names and websites
                                                                                       0.00                                               2,000.00
    doughbardoughnuts.com, doughnutclub.com
    ______________________________________________________________                   $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
                                                                                                                                          Unknown
    Commercial Kitchen license
    ______________________________________________________________                   $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations                               89,191.10                                          89,191.10
                                                                                                          fair market 10% of 2018 gross sales
    80,000 customer emails
    ______________________________________________________________                   $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property                                        5,000.00           Contract price                  5,000.00
    ______________________________________________________________
    Option to buy doughnut mix formula                                                $________________     _____________________       $____________________
65. Goodwill
                                                                                                                                          Unknown
    Social Media Accounts - Facebook and Instagram
    ______________________________________________________________                    $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                     96,191.10
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                   page 6
          Case:19-19325-KHT Doc#:1 Filed:10/29/19                                  Entered:10/29/19 16:11:57 Page14 of 63
Debtor            The Dough Bar, LLC
                 _______________________________________________________                         Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
    
    ✔     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     Claim against Honeyville for defective product
    ______________________________________________________________                                                                     40,000.00
                                                                                                                                     $_______________________

    Nature of claim                     breach of warranty
                                       ___________________________________

    Amount requested                     40,000.00
                                       $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                       40,000.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
          Case:19-19325-KHT Doc#:1 Filed:10/29/19                                                       Entered:10/29/19 16:11:57 Page15 of 63
                   The Dough Bar, LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         39,850.17
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         50,000.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         3,400.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         10,100.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         119,675.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               240,000.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         96,191.10
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         40,000.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         359,216.27                            240,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  599,216.27                                                                                       599,216.27
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                     Entered:10/29/19 16:11:57 Page16 of 63
                The Dough Bar, LLC
 Debtor 1                                                        _                 Case number (if known)
               First Name    Middle Name     Last Name



                                                 Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Wells Fargo                                Checking                            9003

Balance: 0.00

Wells Fargo                                Checking                            8997

Balance: 0.00

US Bank                                    Checking                            4799

Balance: 39,350.17


50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

See Schedule A/B                     18,100.00                fair market                        18,100.00
Part 8, Question
50 Attachment

See Schedule A/B                     87,600.00                fair market                        87,600.00
Part 8, Question
50 Attachment




Official Form 206 A/B                                         Schedule A/B: Property
Case:19-19325-KHT Doc#:1 Filed:10/29/19                         Entered:10/29/19 16:11:57 Page17 of 63

 The Dough Bar, LLC


                                         Attachment to Schedule A/B

 Part 7 Line 41: Office Equipment and Supplies - unencumbered

  Equipment Description            Valuation     Depreciation   Appraisal?   Net Book Value    Actual Current
                                   Method        Schedule?                                     Value

  Mac Mini Computer                fair market        No            No              $600.00           $600.00
  Surface Pro Computer             fair market        No            No              $400.00           $400.00
  Macbook Pro 15 inch              fair market        No            No             $1,500.00        $1,500.00
  Macbook Pro 15 inch used         fair market        No            No              $500.00           $500.00
  Macbook Air                      fair market        No            No                 $0.00            $0.00
  Office Chairs                    fair market        No            No              $500.00           $500.00
  Retail tables/chairs             fair market        No            No             $1,000.00        $1,000.00
  Retail Gold Frames               fair market        No            No              $500.00           $500.00
  Printer                          fair market        No            No              $500.00           $500.00
  Computer Monitors x 6            fair market        No            No              $300.00           $300.00
  Extention Cords + Power Strips   fair market        No            No              $300.00           $300.00
  Toast Registers                  fair market        No            No               $1,000            $1,000
  Misc. office equipment and
  Supplies                         fair market        No            No               $3,000            $3,000


                                                                Totals            $10,100.00       $10,100.00




 Part 8, Question 50: Assets encumbered by lien owned by US Bank: Commercial
 kitchen equipment

  Equipment Description            Valuation     Depreciation   Appraisal?   Net Book Value    Actual Current   Purchase
                                   Method        Schedule?                                     Value            Price

  Rotating Double Rack Oven        fair market        No            No             $7,000.00        $7,000.00    $12,650.00
  Water Meter                      fair market        No            No             $1,500.00        $1,500.00     $2,250.00
  2 x Hobart 80qt Mixer            fair market        No            No            $10,000.00       $10,000.00    $12,500.00
  Horizontal Flow Wrapper          fair market        No            No            $22,000.00       $22,000.00    $30,000.00
  Glaze Packaging Machine          fair market        No            No            $15,000.00       $15,000.00    $21,300.00
  Reversible Dough Sheeter         fair market        No            No            $10,800.00       $10,800.00    $10,800.00
  Fryer Conveyor                   fair market        No            No             $1,500.00        $1,500.00     $1,800.00
  Fryer                            fair market        No            No             $5,000.00        $5,000.00    $13,000.00
  Security Cameras                 fair market        No            No              $400.00           $400.00      $500.00
  65 Inch TV's (two)               fair market        No            No             $1,200.00        $1,200.00     $1,850.00
  3 Comp Sink                      fair market        No            No             $1,000.00        $1,000.00     $1,350.00
  Donut Glazer Table               fair market        No            No             $1,200.00        $1,200.00     $1,600.00
  Misc Kitchen (sheet pans,
  shelves, bowls, bins etc.)       fair market        No            No             $7,500.00        $7,500.00     $9,500.00
  3 Door Freezer                   fair market        No            No             $3,500.00        $3,500.00     $4,000.00


                                                                Totals            $87,600.00       $87,600.00   $123,100.00




 Attachment to Schedule A/B                                                                            Page 1 of 2
Case:19-19325-KHT Doc#:1 Filed:10/29/19                Entered:10/29/19 16:11:57 Page18 of 63

 The Dough Bar, LLC


 Part 8, Question 50: Assets not encumbered – Commercial kitchen equipment

  Equipment Description   Valuation     Depreciation   Appraisal?   Net Book Value    Actual Current
                          Method        Schedule?                                     Value

  Proofer Box x 2         fair market        No            No             $1,600.00        $1,600.00
  Kitchen NSF Tables      fair market        No            No              $500.00           $500.00
  Freezer x 4             fair market        No            No             $2,500.00        $2,500.00
  Fridge x 2              fair market        No            No             $1,000.00        $1,000.00
  3 Door Freezer          fair market        No            No             $3,500.00        $3,500.00
  Small Mixer             fair market        No            No             $1,000.00        $1,000.00
  Garage Storage Set      fair market        No            No             $2,000.00        $2,000.00
  Toppings Machines x 4   fair market        No            No             $1,000.00        $1,000.00
  Glaze filling machine   fair market        No            No             $5,000.00        $5,000.00
  Misc Kitchen
  Equipment/Supplies      fair market        No            No             $3,000.00        $3,000.00


                                                       Totals            $18,100.00       $18,100.00




 Attachment to Schedule A/B                                                                   Page 2 of 2
             Case:19-19325-KHT Doc#:1 Filed:10/29/19                                            Entered:10/29/19 16:11:57 Page19 of 63
  Fill in this information to identify the case:
              The Dough Bar, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of Colorado

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Greeley Subaru                                              2017 Dodge Grand Caravan SXT, 45,000
      __________________________________________
                                                                 miles                                                             21,278.88
                                                                                                                                 $__________________          13,975.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      4720 W. 24th St.
      ________________________________________________________
      Greeley, CO 80634
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            10/28/2019
                                     __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   5225
                             _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                               
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Shopify
                                                                 Secured by sales through the Shopify                            $__________________
                                                                                                                                  29,091.63                 $_________________
                                                                                                                                                             Undetermined
      __________________________________________                 platform
     Creditor’s mailing address
      33 New Montgomery St.
      ________________________________________________________
      Suite 750, San Francisco, CA 94105
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
                             03/2019
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
    
    ✔ No
                                                                 Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    172,337.17
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          4
                                                                                                                                                              page 1 of ___
             Case:19-19325-KHT
               The Dough Bar, LLC
                                  Doc#:1 Filed:10/29/19                                        Entered:10/29/19 16:11:57 Page20 of 63
  Debtor            _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Shopify
                                                                Secured by sales through the Shopify
     __________________________________________                 platform                                                         22,600.00
                                                                                                                                $__________________     $_________________
     Creditor’s mailing address

     33 New Montgomery St.
     ________________________________________________________

     Suite 750, San Francisco, CA 94105
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account                                     Agreement you made
                                                                 __________________________________________________
    number                   _________________
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the               
                                                                ✔   No
    same property?                                                 Yes
    
    ✔ No

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this           Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Thunderpup Construction
                                                                Tenant Improvements to 501 Riverside
     __________________________________________                                                                                  2,566.66
                                                                                                                                $__________________     $_________________
     Creditor’s mailing address


      1520 E Mulberry
     ________________________________________________________

      Suite 200, Fort Collins, CO 80524
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred            4/2019
                                     __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Agreement you made
                                                                 __________________________________________________


    Do multiple creditors have an interest in the               Is the creditor an insider or related party?
    same property?                                              
                                                                ✔   No
    
    ✔ No                                                           Yes

     Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                        
                                                                ✔   No
              No. Specify each creditor, including this
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                   Contingent
              Yes. The relative priority of creditors is          Unliquidated
                   specified on lines _____                        Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 2 of ___
                                                                                                                                                                       4
              Case:19-19325-KHT
                The Dough Bar, LLC
                                   Doc#:1 Filed:10/29/19                                        Entered:10/29/19 16:11:57 Page21 of 63
  Debtor            _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     US Bank Equipment Loan
                                                                 See Schedule A/B Part 8, Question 50
      __________________________________________                 Attachment                                                       96,800.00
                                                                                                                                 $__________________      87,600.00
                                                                                                                                                         $_________________
     Creditor’s mailing address

      4801 Frederica St.
      ________________________________________________________

      Owensboro, KY 42301
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________
                                     08/2018                     Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________
                              4000
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔   No
     same property?                                                 Yes
     
     ✔ No

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔   No
              No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


2.__ Creditor’s name                                             Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                 $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                                 No
      No                                                           Yes

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                            No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  3 of ___
                                                                                                                                                                        4
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                  Entered:10/29/19 16:11:57 Page22 of 63
Debtor
               The Dough Bar, LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Ally Bank
     PO Box 8125
     Cockeysville, MD, 21030                                                                                           1
                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      4 of ___
                                                                                                                                                           4
             Case:19-19325-KHT Doc#:1 Filed:10/29/19                                  Entered:10/29/19 16:11:57 Page23 of 63
   Fill in this information to identify the case:

   Debtor
                    The Dough Bar, LLC
                    __________________________________________________________________

                                           District of Colorado
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           2,267.79
    CDTFA- California tax                                                                                                           $_________________
                                                            Check all that apply.
    P.O. Box 942879                                            Contingent
    Sacramento, CA, 94279                                      Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      9592
                _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Colorado Department of Revenue                          As of the petition filing date, the claim is: $______________________
                                                                                                            11,526.02               $_________________
                                                            Check all that apply.
    Payroll
    Denver, CO, 80261                                          Contingent
                                                               Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Colorado Department of Revenue                                                                                                  $_________________
                                                            Check all that apply.
    Sales Tax
                                                               Contingent
    Denver, CO, 80261                                          Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               10
                                                                                                                                         page 1 of ___
             Case:19-19325-KHT
               The Dough Bar, LLC Doc#:1 Filed:10/29/19                           Entered:10/29/19 16:11:57 Page24 of 63
  Debtor         _______________________________________________________                       Case number (if known)_____________________________________
                 Name



 Pa rt 1 .   Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                      Unknown
                                                                                                        $______________________   $_________________
      IRS                                               As of the petition filing date, the claim is:
      Centralized Insolvency Operation                  Check all that apply.
      P.O. Box 7346                                         Contingent
      Philadelphia, PA, 19101-7346                          Unliquidated
                                                            Disputed


       Date or dates debt was incurred                   Basis for the claim:

       _________________________________
                                                         Taxes & Other Government Units
                                                         _________________________________
       Last 4 digits of account
       number      2216
                   _______________________
                                                        Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured
                                   8
       claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

2.____ Priority creditor’s name and mailing address
                                                                                                        $______________________   $_________________
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
       Date or dates debt was incurred
       _________________________________                 _________________________________

       Last 4 digits of account
                                                        Is the claim subject to offset?
       number _______________________

       Specify Code subsection of PRIORITY unsecured
                                                            No
       claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


2.____ Priority creditor’s name and mailing address
                                                                                                        $______________________   $_________________
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
       Date or dates debt was incurred
       _________________________________                 _________________________________

       Last 4 digits of account
       number      _______________________               Is the claim subject to offset?

       Specify Code subsection of PRIORITY unsecured        No
       claim: 11 U.S.C. § 507(a) (_____)                    Yes


2.____ Priority creditor’s name and mailing address
                                                        As of the petition filing date, the claim is: $______________________     $_________________
                                                        Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
       Date or dates debt was incurred
                                                         _________________________________
       _________________________________

       Last 4 digits of account                          Is the claim subject to offset?
       number      _______________________

       Specify Code subsection of PRIORITY unsecured
                                                            No
       claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  2 of ___
                                                                                                                                                page __    10
             Case:19-19325-KHT
                The Dough Bar, LLC Doc#:1 Filed:10/29/19                               Entered:10/29/19 16:11:57 Page25 of 63
  Debtor         _______________________________________________________                             Case number (if known)_____________________________________
                 Name


 Pa rt 2 :    List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Amtrust North America                                                                                                      4,791.52
                                                                                                                             $________________________________
                                                                              Contingent
    Attention Bankruptcy Dept                                                 Unliquidated
    800 Superior Avenue                                                       Disputed
    Cleveland, OH, 44114                                                                           Monies Loaned / Advanced
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    BCH Holdings, LLC                                                      Check all that apply.                               Undetermined
                                                                                                                             $________________________________
    1192 Park Ave.                                                         
                                                                           ✔
                                                                               Contingent
    Suite 1B                                                               
                                                                           ✔   Unliquidated
    New York, NY, 10128                                                       Disputed
                                                                           Basis for the claim:
                                                                                                   contingent consideration for buyback of 20% ownership stake


    Date or dates debt was incurred            10/9/2019
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Bell                                                                                                                       1,388.43
                                                                                                                             $________________________________
                                                                              Contingent
    500 Academy Drive                                                         Unliquidated
    Northbrook, IL, 60062                                                     Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            0444
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Betterbuds Inc.                                                        Check all that apply.
                                                                                                                               2,133.03
                                                                                                                             $________________________________
    2330 Chicory Road                                                         Contingent
    Racine, WI, 53403                                                         Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            2175
                                               __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    CAN Capital                                                                                                                96,520.60
                                                                                                                             $________________________________
                                                                           Check all that apply.
    2015 Vaughn Rd                                                            Contingent
    Suite 500                                                                 Unliquidated
    Kennesaw, GA, 30144                                                       Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Central Valley Community Bank                                                                                              94,605.66
                                                                                                                             $________________________________
                                                                           Check all that apply.
    7100 N. Financial Drive                                                   Contingent
    Suite 100                                                                 Unliquidated
    Fresno, CA, 93720                                                         Disputed
                                                                           Basis for the claim:    Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________
                                               12/2017                     Is the claim subject to offset?
    Last 4 digits of account number            ___________________
                                               5738                        
                                                                           ✔
                                                                               No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                       3 of ___
                                                                                                                                                      page __    10
             Case:19-19325-KHT
                The Dough Bar, LLC Doc#:1 Filed:10/29/19                         Entered:10/29/19 16:11:57 Page26 of 63
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             825.08
                                                                                                                     $________________________________
 CH Robinson                                                            Contingent
 Attention Bill Glad                                                    Unliquidated
 14701 Charleson Rd Suite 2400                                          Disputed
 Eden Prairie, MN, 55347
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       500.87
                                                                                                                     $________________________________
 Coyote Shipping
 60 North Point Parkway                                                 Contingent
 Suite 150                                                              Unliquidated
 Alpharetta, GA, 30005                                                  Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Foresight Food Research                                             Check all that apply.
                                                                                                                      3,511.00
                                                                                                                     $________________________________
 7644 Jenni St. NE                                                   
                                                                     ✔
                                                                         Contingent
 Olympia, WA, 98506                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      65,000.00
                                                                                                                     $________________________________
 Gary Goranson                                                       Check all that apply.
 1970 B Street                                                          Contingent
 Apt A                                                                  Unliquidated
 Lincoln, NE, 68502                                                     Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Glanbia Business Services                                           Check all that apply.
                                                                                                                       1,563.28
                                                                                                                     $________________________________
 4255 Meridian Parkway                                                  Contingent
 Suite 151                                                              Unliquidated
 Aurora, IL, 60504                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 4 of ___
                                                                                                                                              page __    10
             Case:19-19325-KHT
                The Dough Bar, LLC Doc#:1 Filed:10/29/19                         Entered:10/29/19 16:11:57 Page27 of 63
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,000.00
                                                                                                                     $________________________________
 Gramercy Bakery, LLC.                                                  Contingent
 20405 B Gramercy Place                                                 Unliquidated
 Torrance, CA, 90501                                                    Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       1285
                                              ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       700.00
                                                                                                                     $________________________________
 Hatch Food Consulting
 P.O. Box 14551                                                         Contingent
 Torrance, CA, 90503                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Honeyville Inc.                                                     Check all that apply.
                                                                                                                      11,352.00
                                                                                                                     $________________________________
 11600 Dayton Drive Rancho                                           
                                                                     ✔
                                                                         Contingent
 Rancho Cucamonga, CA, 91730                                         
                                                                     ✔
                                                                         Unliquidated
                                                                     
                                                                     ✔
                                                                         Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      4,259.93
                                                                                                                     $________________________________
 K1 Packaging                                                        Check all that apply.
 17989 E. Arenth Ave                                                    Contingent
 Rowland Heights, CA, 91748                                             Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kabbage                                                             Check all that apply.
                                                                                                                       72,310.32
                                                                                                                     $________________________________
 925B Peachtree Street NE                                               Contingent
 Suite 1688                                                             Unliquidated
 Atlanta, GA, 30309                                                     Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        05/2019
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              8779                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 5 of ___
                                                                                                                                              page __    10
             Case:19-19325-KHT
                The Dough Bar, LLC Doc#:1 Filed:10/29/19                         Entered:10/29/19 16:11:57 Page28 of 63
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,331.20
                                                                                                                     $________________________________
 Lawrence Foods, Inc.                                                   Contingent
 2200 Lunt Avenue                                                       Unliquidated
 Elk Grove Village, IL, 60007                                           Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       1291
                                              ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       47,913.40
                                                                                                                     $________________________________
 Loanbuilder
 Swift Financial, LLC                                                   Contingent
 3505 Silverside Rd.                                                    Unliquidated
 Wilmington, DE, 19810                                                  Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        01/2019
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       9911
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marquez and Ondrea Fernandez                                        Check all that apply.
                                                                                                                      28,780.55
                                                                                                                     $________________________________
 3412 Lancaster Dr                                                      Contingent
 Fort Collins, CO, 80525                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      9,000.00
                                                                                                                     $________________________________
 Marquez Fernandez                                                   Check all that apply.
 3412 Lancaster Dr                                                      Contingent
 Fort Collins, CO, 80525                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marquez Fernandez                                                   Check all that apply.
                                                                                                                       19,474.13
                                                                                                                     $________________________________
 3412 Lancaster Dr                                                      Contingent
 Fort Collins, CO, 80525                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              3085                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 6 of ___
                                                                                                                                              page __    10
             Case:19-19325-KHT
                The Dough Bar, LLC Doc#:1 Filed:10/29/19                         Entered:10/29/19 16:11:57 Page29 of 63
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             7,388.42
                                                                                                                     $________________________________
 Ondrea Fernandez                                                       Contingent
 3412 Lancaster Dr                                                      Unliquidated
 Fort Collins, CO, 80525                                                Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       5800
                                              ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,918.00
                                                                                                                     $________________________________
 Ondrea Fernandez
 3412 Lancaster Dr                                                      Contingent
 Fort Collins, CO, 80525                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       5443
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Posh Bakery                                                         Check all that apply.
                                                                                                                      4,500.00
                                                                                                                     $________________________________
 445 Nelo St                                                            Contingent
 Santa Clara, CA, 95054                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      925.65
                                                                                                                     $________________________________
 Renslow's of Colorado LLC                                           Check all that apply.
 1715 Green Wing Drive                                                  Contingent
 Johnstown, CO, 80534                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Home / Car Repairs



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Swire Coca Cola USA                                                 Check all that apply.
                                                                                                                       222.24
                                                                                                                     $________________________________
 12634 South 265 West                                                   Contingent
 Draper, UT, 84020                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              4989                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 7 of ___
                                                                                                                                              page __    10
             Case:19-19325-KHT
                The Dough Bar, LLC Doc#:1 Filed:10/29/19                         Entered:10/29/19 16:11:57 Page30 of 63
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             18,607.00
                                                                                                                     $________________________________
 US Bank                                                                Contingent
 Attention Bankruptcy Dept                                              Unliquidated
 4801 Frederica St                                                      Disputed
 Owensboro, KY, 42301
                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        01/2019
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       1079
                                              ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       23,934.57
                                                                                                                     $________________________________
 US Bank National Association
 Bankruptcy Department                                                  Contingent
 P.O. Box 108                                                           Unliquidated
 Saint Louis, MO, 63166                                                 Disputed

                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred        01/2019
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       7460
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wells Fargo                                                         Check all that apply.
                                                                                                                      5,759.92
                                                                                                                     $________________________________
 P.O. Box 10438                                                         Contingent
 Des Moines, IA, 50306                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52,876.00
                                                                                                                     $________________________________
 Wells Fargo LOC                                                     Check all that apply.
 P.O. Box 10438                                                         Contingent
 Des Moines, IA, 50306                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 World Wide Express                                                  Check all that apply.
                                                                                                                       2,891.70
                                                                                                                     $________________________________
 1939 Harrison St                                                       Contingent
 Suite 170                                                              Unliquidated
 Oakland, CA, 94612                                                     Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              8617                      Yes




       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 8 of ___
                                                                                                                                              page __    10
               Case:19-19325-KHT
                 The Dough Bar, LLC Doc#:1 Filed:10/29/19                                 Entered:10/29/19 16:11:57 Page31 of 63
     Debtor         _______________________________________________________                            Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Altus Receivables Management
4.1.      2400 Veterans Memorial Blvd                                                               3.7
                                                                                               Line _____
          Suite 300                                                                                                                             ________________
          Kenner, LA, 70062                                                                         Not listed. Explain:


          Revenue Systems, Inc.
4.2.
          PO Box 15257                                                                         Line 3.1
                                                                                                    _____
          Clearwater, FL, 33766                                                                   Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                       9 of ___
                                                                                                                                                           page __    10
            Case:19-19325-KHT
              The Dough Bar, LLC Doc#:1 Filed:10/29/19                         Entered:10/29/19 16:11:57 Page32 of 63
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name



Pa rt 4 :     T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                   Total of claim amounts



5a. Total claims from Part 1                                                                          5a.
                                                                                                                     13,793.81
                                                                                                                   $_____________________________




5b. Total claims from Part 2                                                                          5b.    +       587,984.50
                                                                                                                   $_____________________________




5c. Total of Parts 1 and 2                                                                                           601,778.31
                                                                                                      5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                 10 of ___
                                                                                                                                                        10
           Case:19-19325-KHT Doc#:1 Filed:10/29/19                                   Entered:10/29/19 16:11:57 Page33 of 63

 Fill in this information to identify the case:

             The Dough Bar, LLC
 Debtor name __________________________________________________________________

                                         District of Colorado
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Sublet use of commercial kitchen                  Mayan Empanadas
         State what the contract or    during non-production hours                       501 Riverside Ave
 2.1     lease is for and the nature
                                       Lessor
         of the debtor’s interest
                                                                                         Fort Collins, CO, 80524
         State the term remaining
                                       Month to month
         List the contract number of
         any government contract

                                       Sublet use of commercial kitchen                  Cold Pizza
         State what the contract or    during non-production hours                       2515 Owen
 2.2     lease is for and the nature
         of the debtor’s interest      Lessor                                            Suite 103
                                                                                         Fort Collins, CO, 80528
         State the term remaining      3 mo
         List the contract number of
         any government contract

                                       Unit 1166, 800 sq. ft. at Flatirons                See Attached Schedule G
         State what the contract or    Mall
 2.3     lease is for and the nature
         of the debtor’s interest      Lessee

         State the term remaining      2 mo.
         List the contract number of
         any government contract

                                       501 Riverside Ave Fort Collins,                    See Attached Schedule G
         State what the contract or
 2.4                                   Colorado 80524
         lease is for and the nature
         of the debtor’s interest      Lessee

         State the term remaining      48 mo
         List the contract number of
         any government contract

                                       Jeep through Chrysler Capital                      Lessor
         State what the contract or    Lessor
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining      1 month
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
Case:19-19325-KHT Doc#:1 Filed:10/29/19       Entered:10/29/19 16:11:57 Page34 of 63

 The Dough Bar, LLC


                              Attachment to Schedule G

 Property: 501 Riverside Ave.
           Fort Collins, CO 80525

 Lessor:   HJI, LLC
           500 Riverside Ave.
           Fort Collins, CO 80525

 Lease Term: Jan. 1, 2019 – Dec. 31, 2023
 Total Lease Payments:     $438,356.88
 Arears:                   $21711.66 including late fees
 Remaining Payments:       $397,890.60

 Payment Schedule:
 January 1, 2019 – December 31, 2019: $6,744.38/month
 January 1, 2020 – December 31, 2020: $7,014.16/month
 January 1, 2021 – December 31, 2021: $7,294.72/month
 January 1, 2022 – December 31, 2022: $7,586.51/month
 January 1, 2023 – December 31, 2023: $7,889.97/month




 Attachment to Schedule G                                                Page 1 of 2
Case:19-19325-KHT Doc#:1 Filed:10/29/19          Entered:10/29/19 16:11:57 Page35 of 63

 The Dough Bar, LLC


 Property: Unit 1166 at One W. Flatiron Circle
           Broomfield, CO 80021

 Lessor:   FlatIron Property Holding, LLC
           1 W. Flatiron Crossing Drive, Suite 1083
           Broomfield, CO 80021

 Lease Term: Aug. 1, 2019 – Dec. 31, 2019
 Total Lease Payments: $18,500
 Arears: $11,500
 Remaining Payments: $4,500

 Lease Payment Schedule:
 Aug. 15, 2019: $1,500 + $5,000 deposit
 Sept. 1, 2019: $3,500
 Oct. 1, 2019: $4,000
 Nov. 1, 2019: $4,500
 Dec. 1, 2019: $5,000 paid from deposit




 Attachment to Schedule G                                                   Page 2 of 2
          Case:19-19325-KHT Doc#:1 Filed:10/29/19                                     Entered:10/29/19 16:11:57 Page36 of 63
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             The Dough Bar, LLC

                                         District of Colorado
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Marquez Fernandez             Marquez Fernandez
 2.1                                                                                                     Greeley   Subaru
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     3412 Lancaster Dr.
                                                                                                                                              E/F
                                     Fort Collins, CO 80525                                                                                   G




 2.2
                                                                                                         See  Attached Schedule G  D
                                                                                                          _____________________
                                                                                                                                              E/F
       See Attachment to Schedule H                                                                                                          ✔ G
                                                                                                                                             




 2.3
                                                                                                          See  Attached Schedule G  D
                                                                                                           _____________________
                                                                                                                                              E/F
                                                                                                                                             ✔ G
                                                                                                                                             
       See Attached Schedule H


 2.4
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
Case:19-19325-KHT Doc#:1 Filed:10/29/19            Entered:10/29/19 16:11:57 Page37 of 63

 The Dough Bar, LLC

                                Attachment to Schedule H

  Line No.    Obligation                           Amount         Marquez     Ondrea
                                                                  Fernandez   Fernandez
                                                                  Co-Debtor   Co-Debtor
    D 2.1     Shopify                                29,091.63         Y
    D 2.2     Shopify                                   22,600         Y
    D 2.3     US Bank Equipment Loan                 98,800.00         Y          Y
   E/F 2.1    CDTFA- California payroll taxes         2,267.79         Y          Y
   E/F 2.2    Colorado Department of Revenue –       11,526.02         Y          Y
              payroll taxes
   E/F 2.3    Colorado Department of Revenue          Unknown         Y           Y
              Sales Tax
   E/F 2.4    Internal Revenue Service – payroll      Unknown         Y           Y
              taxes
   E/F 3.4    CAN Capital                             96,520.60       Y           Y
   E/F 3.5    Capital One CC                          14787.00                    Y
   E/F 3.6    Central Valley Community Bank           94,605.66       Y           Y
   E/F 3.15   Kabbage                                 72,310.32       Y
   E/F 3.17   Loan Builder/Swift Financial, LLC       47,913.40                   Y
   E/F 3.25   Swire Coca Cola                            222.24       Y
   E/F 3.27   US Bank Line of Credit                  18,607.00       Y           Y
   E/F 3.28   US Bank National Association            23,934.57       Y           Y
   E/F 3.29   Wells Fargo                              5,759.92       Y           Y
   E/F 3.30   Wells Fargo LOC                         52,876.00       Y           Y




 Attachment to Schedule H                                                       Page 1 of 1
Case:19-19325-KHT Doc#:1 Filed:10/29/19   Entered:10/29/19 16:11:57 Page38 of 63


 Ally Bank                                Coyote Shipping
 PO Box 8125                              60 North Point Parkway
 Cockeysville, MD 21030                   Suite 150
                                          Alpharetta, GA 30005

 Altus Receivables Management
 2400 Veterans Memorial Blvd              Foresight Food Research
 Suite 300                                7644 Jenni St. NE
 Kenner, LA 70062                         Olympia, WA 98506


 Amtrust North America                    Gary Goranson
 Attention Bankruptcy Dept                1970 B Street
 800 Superior Avenue                      Apt A
 Cleveland, OH 44114                      Lincoln, NE 68502


 Bell                                     Glanbia Business Services
 500 Academy Drive                        4255 Meridian Parkway
 Northbrook, IL 60062                     Suite 151
                                          Aurora, IL 60504

 Betterbuds Inc.
 2330 Chicory Road                        Gramercy Bakery, LLC.
 Racine, WI 53403                         20405 B Gramercy Place
                                          Torrance, CA 90501

 CAN Capital
 2015 Vaughn Rd                           Greeley Subaru
 Suite 500                                4720 W. 24th St.
 Kennesaw, GA 30144                       Greeley, CO 80634


 CDTFA- California tax                    Hatch Food Consulting
 P.O. Box 942879                          P.O. Box 14551
 Sacramento, CA 94279                     Torrance, CA 90503


 CH Robinson                              Honeyville Inc.
 Attention Bill Glad                      11600 Dayton Drive Rancho
 14701 Charleson Rd Suite 2400            Rancho Cucamonga, CA 91730
 Eden Prairie, MN 55347

                                          IRS
 Central Valley Community Bank            Centralized Insolvency Operation
 7100 N. Financial Drive                  P.O. Box 7346
 Suite 100                                Philadelphia, PA 19101-7346
 Fresno, CA 93720

                                          K1 Packaging
 Colorado Department of Revenue           17989 E. Arenth Ave
 Payroll                                  Rowland Heights, CA 91748
 Denver, CO 80261

                                          Kabbage
 Colorado Department of Revenue           925B Peachtree Street NE
 Sales Tax                                Suite 1688
 Denver, CO 80261                         Atlanta, GA 30309
Case:19-19325-KHT Doc#:1 Filed:10/29/19   Entered:10/29/19 16:11:57 Page39 of 63


 Lawrence Foods, Inc.                     US Bank Equipment Loan
 2200 Lunt Avenue                         4801 Frederica St.
 Elk Grove Village, IL 60007              Owensboro, KY 42301


 Lessor                                   US Bank National Association
                                          Bankruptcy Department
                                          P.O. Box 108
 Loanbuilder                              Saint Louis, MO 63166
 Swift Financial, LLC
 3505 Silverside Rd.
 Wilmington, DE 19810                     Wells Fargo
                                          P.O. Box 10438
                                          Des Moines, IA 50306
 Mayan Empanadas
 501 Riverside Ave
 Fort Collins, CO 80524                   Wells Fargo LOC
                                          P.O. Box 10438
                                          Des Moines, IA 50306
 Posh Bakery
 445 Nelo St
 Santa Clara, CA 95054                    World Wide Express
                                          1939 Harrison St
                                          Suite 170
 Renslow's of Colorado LLC                Oakland, CA 94612
 1715 Green Wing Drive
 Johnstown, CO 80534


 Revenue Systems, Inc.
 PO Box 15257
 Clearwater, FL 33766


 See Attached Schedule G


 See Attached Schedule H


 Shopify
 33 New Montgomery St.
 Suite 750
 San Francisco, CA 94105


 Swire Coca Cola USA
 12634 South 265 West
 Draper, UT 84020


 Thunderpup Construction
 1520 E Mulberry
 Suite 200
 Fort Collins, CO 80524


 US Bank
 Attention Bankruptcy Dept
 4801 Frederica St
 Owensboro, KY 42301
Case:19-19325-KHT Doc#:1 Filed:10/29/19           Entered:10/29/19 16:11:57 Page40 of 63




                               United States Bankruptcy Court
                               District of Colorado




          The Dough Bar, LLC
 In re:                                                          Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



        The above-named Debtor(s) hereby verify that the attached list of creditors is
 true and correct to the best of their knowledge.




               10/29/2019                         /s/ Marquez Fernandez
 Date:
                                                  Signature of Individual signing on behalf of debtor

                                                  CEO & Co-founder
                                                  Position or relationship to debtor
        Case:19-19325-KHT Doc#:1 Filed:10/29/19                                       Entered:10/29/19 16:11:57 Page41 of 63

 Fill in this information to identify the case and this filing:

              The Dough Bar, LLC
 Debtor Name __________________________________________________________________

                                         District of Colorado
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    10/29/2019
        Executed on ______________                          /s/ Marquez Fernandez
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Marquez Fernandez
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  CEO & Co-founder
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
         Case:19-19325-KHT Doc#:1 Filed:10/29/19                                         Entered:10/29/19 16:11:57 Page42 of 63


Fill in this information to identify the case:
             The Dough Bar, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of Colorado   District of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                              830,712.00
           fiscal year to filing date:           06/20/2019
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2018
                                           From ___________         to     ___________         ✔ Operating a business
                                                                                                                                           2,112,509.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other
           For the year before that:             01/01/2017
                                           From ___________         to     12/31/2017
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                              794,608.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                              ___________________________                        0.00
                                                                                                                                  $__________________
           fiscal year to filing date: From 06/20/2019
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2018
                                                ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________



           For the year before that:       From 01/01/2017
                                                ___________         to      12/31/2017
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                Entered:10/29/19 16:11:57 Page43 of 63

                 The Dough Bar, LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Kabbage
             __________________________________________       ________        $_________________
                                                                               7,495.84                          Secured debt
             Creditor’s name
              925B Peachtree Street NE
                                                                                                                 Unsecured loan repayments
              Suite 1688                                      ________                                           Suppliers or vendors
              Atlanta, GA 30309
                                                                                                                 Services
                                                              ________                                      
                                                                                                            ✔            Monies Loaned / Advanced
                                                                                                                  Other _______________________________


     3.2.

                                                              ________        $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                  Entered:10/29/19 16:11:57 Page44 of 63

                 The Dough Bar, LLC
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                         Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                   Entered:10/29/19 16:11:57 Page45 of 63

                 The Dough Bar, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
           Case:19-19325-KHT Doc#:1 Filed:10/29/19                                 Entered:10/29/19 16:11:57 Page46 of 63

                The Dough Bar, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Law Offices of Owen Hathaway
            __________________________________________
   11.1.                                                                                                                 10/25/2019
                                                                                                                         ______________      $_________
                                                                                                                                               2,000.00
            Address

            2601 S Lemay Ave
            Suite 7-232
            Fort Collins, CO 80525




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
           Case:19-19325-KHT Doc#:1 Filed:10/29/19                                  Entered:10/29/19 16:11:57 Page47 of 63

                The Dough Bar, LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                             Dates of occupancy


   14.1.    3402 Mars Court                                                                                    From        05/2017
                                                                                                                          ____________       To   01/2019
                                                                                                                                                  ____________
            Suite 108
            Tracy, CA 95377




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
           Case:19-19325-KHT Doc#:1 Filed:10/29/19                                    Entered:10/29/19 16:11:57 Page48 of 63

                 The Dough Bar, LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                      shipping and contact information for online sales
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                 
                 ✔   Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
           Case:19-19325-KHT Doc#:1 Filed:10/29/19                                    Entered:10/29/19 16:11:57 Page49 of 63

Debtor            The Dough Bar, LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     Wells Fargo
             ______________________________________        XXXX–__________
                                                                5891                       Checking                  10/25/2019
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
            Name
                                                                                           
                                                                                           ✔ Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     Wells Fargo
             ______________________________________        XXXX–__________
                                                                9003                       
                                                                                           ✔ Checking                  10/25/2019
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
         Case:19-19325-KHT Doc#:1 Filed:10/29/19                                    Entered:10/29/19 16:11:57 Page50 of 63

              The Dough Bar, LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
           Case:19-19325-KHT Doc#:1 Filed:10/29/19                                Entered:10/29/19 16:11:57 Page51 of 63

                The Dough Bar, LLC
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 10
          Case:19-19325-KHT Doc#:1 Filed:10/29/19                                    Entered:10/29/19 16:11:57 Page52 of 63

                   The Dough Bar, LLC
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Kimberly A. Lee-Wright, CPA                                                                     From 02/01/2017
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name
              3340 Walnut Ave, Ste. 115, Fremont, CA 94538-2215                                               To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 11
            Case:19-19325-KHT Doc#:1 Filed:10/29/19                                     Entered:10/29/19 16:11:57 Page53 of 63

                    The Dough Bar, LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    BCH Holdings, LLC
                     ______________________________________________________________________________
                     Name
                      1192 Park Ave. Suite 1B, New York, NY 10128




                     Name and address



           26d.2.
                     HJI, LLC
                     ______________________________________________________________________________
                     Name
                      500 Riverside, Fort Collins, CO




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12
           Case:19-19325-KHT Doc#:1 Filed:10/29/19                                   Entered:10/29/19 16:11:57 Page54 of 63

                The Dough Bar, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Ondrea Fernandez                            ,                                                       Co-founder                              50


 Marquez Fernandez                           ,                                                       CEO and Co-founding member of           50
                                                                                                     LLC




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                 Address                                                interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                      Amount of money or description     Dates               Reason for providing
            Name and address of recipient                                             and value of property                                  the value
            Ondrea Marquez                                                                                                                  regular salary, paid
   30.1.    ______________________________________________________________            30,818.36
                                                                                      _________________________          _____________
            Name                                                                                                                            weekly
            3412 Lancaster Dr.
            Fort Collins, CO 80525                                                                                       _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
            Co-owner, employee
            ______________________________________________________________                                               _____________
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
           Case:19-19325-KHT Doc#:1 Filed:10/29/19                                        Entered:10/29/19 16:11:57 Page55 of 63

                   The Dough Bar, LLC
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient                                                 34,134.57                                         regular salary paid
                                                                                            __________________________     _____________      weekly
   30.2        Marquez Marquez
              ______________________________________________________________
              Name                                                                                                         _____________
               3412 Lancaster Dr.
               Fort Collins, CO 80525                                                                                      _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________
              Owner/employee
              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       10/29/2019
                               _________________
                                MM / DD / YYYY



              /s/ Marquez Fernandez
              ___________________________________________________________                              Marquez Fernandez
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 CEO & Co-founder
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
        Case:19-19325-KHT Doc#:1 Filed:10/29/19                      Entered:10/29/19 16:11:57 Page56 of 63
               The Dough Bar, LLC
 Debtor Name                                                                    Case number (if known)



                                        Continuation Sheet for Official Form 207
18) Closed financial accounts

Wells Fargo                         ,                                        $0.00


26d) Creditors

Central Valley Community Bank                           7100 N. Financial Drive Suite 100,
                                                        Fresno, CA 93720




  Official Form 207                     Statement of Financial Affairs for Non-Individuals
Case:19-19325-KHT Doc#:1 Filed:10/29/19        Entered:10/29/19 16:11:57 Page57 of 63

 The Dough Bar, LLC

               Attachment to Form 107 – Statement of Financial Affairs

 Part 2 Question 3
 Payments above the statutory amount were made to three (3) creditors within 90 days
 prior to the filing date. Total amounts of payments and details of payment dates are
 found below:

 Total payments to Loanbuilder/PayPal: 13,061.88
 Total payments to Shopify:            22,847.68
 Total payments to CAN Capital:        17,915.34


  Payment     Creditor                                      Amount        Total
  Date
  8/6/2019    Loanbuilder                                      2,176.98
  8/13/2019   Loanbuilder                                      2,178.98
  8/20/2019   Loanbuilder                                      2,176.98
  8/27/2019   Loanbuilder                                      2,176.98
  9/3/2019    Loanbuilder                                      2,176.98
  9/10/2019   Loanbuilder                                      2,176.98   13,061.88
  7/27/19     Shopify                                            158.05
  7/28/19     Shopify                                             52.52
  7/29/19     Shopify                                            136.45
  7/30/19     Shopify                                             62.25
  7/31/19     Shopify                                              70.3
  8/1/19      Shopify                                            105.72
  8/2/19      Shopify                                          1835.09
  8/3/19      Shopify                                            758.79
  8/4/19      Shopify                                            218.53
  8/5/19      Shopify                                            203.16
  8/6/19      Shopify                                            254.87
  8/7/19      Shopify                                             390.2
  8/8/19      Shopify                                            223.54
  8/9/19      Shopify                                            212.25
  8/10/19     Shopify                                              163
  8/11/19     Shopify                                             76.95
  8/12/19     Shopify                                             46.57
  8/13/19     Shopify                                             147.5
  8/14/19     Shopify                                            125.76
  8/15/19     Shopify                                            114.55
  8/16/19     Shopify                                            151.72
  8/17/19     Shopify                                             41.15
  8/18/19     Shopify                                             80.38
  8/19/19     Shopify                                             45.13
  8/20/19     Shopify                                              95.1
  8/21/19     Shopify                                          1481.53
  8/22/19     Shopify                                             91.54
  8/23/19     Shopify                                             51.08
  8/24/19     Shopify                                             87.47
  8/25/19     Shopify                                             48.67


 Attachment to Form 107                Page 1 of 3
Case:19-19325-KHT Doc#:1 Filed:10/29/19   Entered:10/29/19 16:11:57 Page58 of 63

 The Dough Bar, LLC

  8/26/19     Shopify                                      94.45
  8/27/19     Shopify                                      63.95
  8/28/19     Shopify                                      70.99
  8/29/19     Shopify                                       85.9
  8/30/19     Shopify                                     103.48
  8/31/19     Shopify                                      36.66
  9/1/19      Shopify                                      47.79
  9/2/19      Shopify                                      53.79
  9/3/19      Shopify                                     134.79
  9/4/19      Shopify                                      45.01
  9/5/19      Shopify                                      99.27
  9/6/19      Shopify                                      87.03
  9/7/19      Shopify                                      87.47
  9/8/19      Shopify                                     219.69
  9/9/19      Shopify                                      40.57
  9/10/19     Shopify                                     155.46
  9/11/19     Shopify                                     981.07
  9/12/19     Shopify                                     349.67
  9/13/19     Shopify                                    2244.54
  9/14/19     Shopify                                     312.51
  9/15/19     Shopify                                     184.23
  9/16/19     Shopify                                     169.63
  9/17/19     Shopify                                     151.54
  9/18/19     Shopify                                      124.4
  9/19/19     Shopify                                     151.47
  9/20/19     Shopify                                     145.13
  9/21/19     Shopify                                     157.84
  9/22/19     Shopify                                      76.68
  9/23/19     Shopify                                     112.04
  9/24/19     Shopify                                      123.5
  9/25/19     Shopify                                     103.59
  9/26/19     Shopify                                     183.19
  9/27/19     Shopify                                     107.73
  9/28/19     Shopify                                     117.06
  9/29/19     Shopify                                      32.59
  9/30/19     Shopify                                      99.65
  10/1/19     Shopify                                     150.84
  10/2/19     Shopify                                     150.15
  10/3/19     Shopify                                     129.95
  10/4/19     Shopify                                     215.92
  10/5/19     Shopify                                    1193.93
  10/6/19     Shopify                                     1507.9
  10/7/19     Shopify                                     265.04
  10/8/19     Shopify                                     218.62
  10/9/19     Shopify                                     265.63
  10/10/19    Shopify                                     182.12
  10/11/19    Shopify                                     179.91
  10/12/19    Shopify                                     421.56
  10/13/19    Shopify                                     125.28
  10/14/19    Shopify                                     104.67
  10/15/19    Shopify                                     370.18



 Attachment to Form 107           Page 2 of 3
Case:19-19325-KHT Doc#:1 Filed:10/29/19   Entered:10/29/19 16:11:57 Page59 of 63

 The Dough Bar, LLC

  10/16/19    Shopify                                      159.57
  10/17/19    Shopify                                      291.18
  10/18/19    Shopify                                      152.53
  10/19/19    Shopify                                      583.56
  10/20/19    Shopify                                      191.25
  10/21/19    Shopify                                      130.03
  10/22/19    Shopify                                      133.62
  10/23/19    Shopify                                       81.84
  10/24/19    Shopify                                      349.97
  10/25/19    Shopify                                      408.25   22,847.68
  8/1/2019    CAN Capital                                  430.89
  8/1/2019    CAN Capital                                2,403.30
  8/2/2019    CAN Capital                                  430.89
  8/5/2019    CAN Capital                                  430.89
  8/6/2019    CAN Capital                                  430.89
  8/7/2019    CAN Capital                                  430.89
  8/8/2019    CAN Capital                                  430.89
  8/9/2019    CAN Capital                                  430.89
  8/12/2019   CAN Capital                                  430.89
  8/13/2019   CAN Capital                                  430.89
  8/14/2019   CAN Capital                                  430.89
  8/15/2019   CAN Capital                                  430.89
  8/16/2019   CAN Capital                                  430.89
  8/19/2019   CAN Capital                                  430.89
  8/20/2019   CAN Capital                                  430.89
  8/21/2019   CAN Capital                                  430.89
  8/22/2019   CAN Capital                                  430.89
  8/23/2019   CAN Capital                                  430.89
  8/26/2019   CAN Capital                                  430.89
  8/27/2019   CAN Capital                                  430.89
  8/28/2019   CAN Capital                                  430.89
  8/29/2019   CAN Capital                                  430.89
  8/30/2019   CAN Capital                                  430.89
  9/3/2019    CAN Capital                                  430.89
  9/4/2019    CAN Capital                                  430.89
  9/4/2019    CAN Capital                                  430.89
  9/5/2019    CAN Capital                                  430.89
  9/6/2019    CAN Capital                                  430.89
  9/9/2019    CAN Capital                                  430.89
  9/10/2019   CAN Capital                                  430.89
  9/11/2019   CAN Capital                                  430.89
  9/12/2019   CAN Capital                                  430.89
  9/13/2019   CAN Capital                                  430.89
  9/16/2019   CAN Capital                                  430.89
  9/17/2019   CAN Capital                                  430.89
  9/18/2019   CAN Capital                                  430.89
  9/19/2019   CAN Capital                                  430.89
  9/20/2019   CAN Capital                                  430.89   17,915.34




 Attachment to Form 107           Page 3 of 3
      Case:19-19325-KHT Doc#:1 Filed:10/29/19                Entered:10/29/19 16:11:57 Page60 of 63

                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
The Dough Bar, LLC                                                              11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Ondrea Fernandez                                            50                      Managing member
 ,




 Marquez Fernandez                                           50                      Managing member
 ,
      Case:19-19325-KHT
     B2030 (Form 2030) (12/15) Doc#:1 Filed:10/29/19                                  Entered:10/29/19 16:11:57 Page61 of 63


                                      United States Bankruptcy Court
                                                                  District of Colorado
                                               __________________________________
     In re   The Dough Bar, LLC

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         6,100.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 2,000.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   4,100.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
 Case:19-19325-KHT Doc#:1 Filed:10/29/19                                   Entered:10/29/19 16:11:57 Page62 of 63
 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
counseling and advice on bankruptcy, preparation of the petition, filing the petition, counseling and advice on post-petition matters including
affirmation agreements, representation at the §341 meeting of the creditors, closing of the case upon discharge




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
adversarial proceedings, representation with the IRS or other taxing authorities, other than to obtain tax records, negotiating affirmation
agreements, matters related to non-dischargeable student loans
Case:19-19325-KHT Doc#:1 Filed:10/29/19               Entered:10/29/19 16:11:57 Page63 of 63




                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for
            payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        10/29/2019                        /s/ Owen Hathaway, 44068
      _____________________              _________________________________________
      Date                                     Signature of Attorney
                                          The Law Offices of Owen Hathaway, LLC
                                         _________________________________________
                                              ​Name of law firm
                                          2601 S. Lemay Ave
                                          7-232
                                          Fort Collins, CO 80525
                                          970-818-3052
                                          owen@ohlawcolorado.com
